1     TERRY A. DAKE, LTD.
      20 E. Thomas Rd.
2     Suite 2200
      Phoenix, Arizona 85012-3133
3     Telephone: (602) 710-1005
      tdake@cox.net
4
      Terry A. Dake - 009656
5
      Attorney for Trustee
6
                         IN THE UNITED STATES BANKRUPTCY COURT
7
                               FOR THE DISTRICT OF ARIZONA
8
      In re:                        )          In Chapter 7 Proceedings
9                                   )
      WILLIAM JAY ADLER,            )
10    TRUDI BARBARA ADLER,          )          Case No. 2:17-BK-01813-MCW
                                    )
11                         Debtors. )
                                    )
12                                  )
      ROBERT A. MACKENZIE,          )
13         TRUSTEE,                 )          Adversary No. 2:17-AP-488
                                    )
14              Plaintiff,          )
      v.                            )
15                                  )
      SAMUEL GOLDSTEIN              )
16    SUSAN M. GOLDSTEIN,           )
                                    )
17              Defendants.         )
      ______________________________)
18
               NOTICE OF BAR DATE FOR OBJECTIONS TO TRUSTEE’S MOTION
19
                PLEASE TAKE NOTICE that the trustee has filed the attached
20    motion with the Court. Your rights may be affected by this motion.

21              You should read these papers carefully, and discuss them with
      your attorney if you have one. If you do not have an attorney, you may
22    wish to consult one.

23              If you do not want the Court to grant the trustee’s motion,
      or if you want the court to consider your views on the trustee’s
24    motion, then on or before November 1, 2018, you or your attorney must
      file with the Court a written response setting forth your concerns and
25    requesting a hearing on the trustee’s motion. Your response must be
      filed with the Court at:
26

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1                             Clerk Of The Court
                              United States Bankruptcy Court
2                             230 N. First Ave.
                              Ste. 101
3                             Phoenix, Arizona 85003-1706
4               If you mail your response to the Court, you must mail it
      early enough so the Court will receive it on or before the date stated
5     above.
                You must also mail or e-mail1 a copy of your response to the
6     attorney for the trustee at:
7                             Terry A. Dake, Esq.
                              TERRY A. DAKE, LTD.
8                             20 E. Thomas Rd.
                              Suite 2200
9                             Phoenix, Arizona 85012-3133
                              tdake@cox.net
10
                If you or your attorney do not take these steps, the Court
11    may decide that you do not oppose the trustee’s motion and may enter
      an order that grants the trustee’s motion without further notice or
12    hearing.
13               DATED October 6, 2018.
14                                       TERRY A. DAKE, LTD.
15                                       By /s/ TD009656
                                           Terry A. Dake
16                                         20 E. Thomas Rd.
                                           Suite 2200
17                                         Phoenix, Arizona 85012-3133
                                           Attorney for Trustee
18

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           1
27             E-mailed papers must be in pdf format.

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1     TERRY A. DAKE, LTD.
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2     Suite 2200
      Phoenix, Arizona 85012-3133
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                         IN THE UNITED STATES BANKRUPTCY COURT
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                                FOR THE DISTRICT OF ARIZONA
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      In re:                        )           In Chapter 7 Proceedings
9                                   )
      WILLIAM JAY ADLER,            )
10    TRUDI BARBARA ADLER,          )           Case No. 2:17-BK-01813-MCW
                                    )
11                         Debtors. )
                                    )
12                                  )
      ROBERT A. MACKENZIE,          )
13         TRUSTEE,                 )           Adversary No. 2:17-AP-488
                                    )
14              Plaintiff,          )
      v.                            )
15                                  )
      SAMUEL GOLDSTEIN              )
16    SUSAN M. GOLDSTEIN,           )
                                    )
17              Defendants.         )
      ______________________________)
18
                              MOTION TO APPROVE COMPROMISE
19
                 The trustee moves this Court for the entry of an order
20
      approving a compromise of this adversary proceeding.                The trustee’s
21
      motion is more fully set forth in and is supported by the following
22
      Memorandum Of Points and Authorities.
23
                 DATED October 5, 2018.
24
                                          TERRY A. DAKE, LTD.
25
                                          By /s/ TD009656
26                                            Terry A. Dake – 009656
                                              20 E. Thomas Rd.
27                                            Suite 2200
                                              Phoenix, Arizona 85012-3133
28


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1                        MEMORANDUM OF POINTS AND AUTHORITIES
2                The trustee commenced this adversary proceeding to avoid a
3     lien asserted by the defendants against the 1950 Steinway Grand Piano
4     Serial #331989 (the “Piano”) which is property of the estate.                     The
5     defendants dispute the trustee’s claims.
6                In order to resolve this litigation, but without admitting
7     the claims and defenses that have been asserted, the parties have
8     reached the following agreement, subject to approval by this Court:
9                1.   The lien of the defendants on the Piano is avoided and is
10    preserved in favor of the estate.
11               2.   The trustee shall pay to the defendants $2,500.00 from
12    the proceeds of the sale of the Piano.            Payment shall be made by the
13    trustee from the sale proceeds of the Piano not later than 14 days
14    after the entry of an order approving this settlement.
15               3.    Claim No. 9 filed by the debtors on behalf of the
16    defendants shall be allowed as a general, unsecured claim in the amount
17    of $1,500.00.
18               4.    The defendants shall not contest any application for
19    administrative expense filed by counsel for the trustee.
20               5. After payment of the $2,500.00 to the defendants in full,
21    the trustee shall lodge an order providing for the dismissal of this
22    adversary proceeding with prejudice, with each party to bear their own
23    attorneys’ fees and costs.
24               In   light   of   the   amounts   at    issue,   and   the   costs     and
25    uncertainties of additional litigation, the trustee believes that the
26    proposed compromise is reasonable and in the best interest of the
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 1    estate.     The   proposed    compromise    avoids     the   delay,   expense     and
 2    uncertainty of additional litigation and provides a return to the
 3    estate.
 4               WHEREFORE, the      trustee prays     for    the entry     of an   order
 5    approving a compromise as set forth herein.
 6               DATED October 5, 2018.
 7                                       TERRY A. DAKE, LTD.
 8                                       By /s/ TD009656
                                             Terry A. Dake – 009656
 9                                           20 E. Thomas Rd.
                                             Suite 2200
10                                           Phoenix, Arizona 85012-3133
11    APPROVED AND AGREED:
12

13
      SCOTT W. HYDER
14    LAW OFFICE OF SCO TT W HYDER PLC
      3420 E SHEA BLVD., STE 200
15    PHOENIX, AZ 85028-3365
      602 923-7370
16    Fax : 602 795- 6010
      Email: Shyder@scotthyderlaw.com
17    Attorneys for Defendants
18

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